       Case 1:21-cv-01390-JPB Document 205 Filed 02/16/24 Page 1 of 9




                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

VOTER PARTICIPATION CENTER,
et al.,

                              Plaintiffs,

       v.
                                            No. 1:21-cv-1390-JPB
BRAD RAFFENSPERGER, in his
official capacity as Secretary of State
of the State of Georgia, et al.,

                           Defendants,

REPUBLICAN NATIONAL
COMMITTEE, et al.,

                Intervenor-Defendants.


            INTERVENOR-DEFENDANTS’ MOTION IN LIMINE

      The Republican intervenors move to prohibit Plaintiffs from introducing

evidence of Republican Party documents, talking points, absentee-ballot

applications, and mailers. That evidence has nothing to do with the claims in

this case and nothing to do with Plaintiffs. Allowing Plaintiffs to present that
evidence will unnecessarily prolong trial, balloon the record with irrelevant

evidence, and confuse the issues. The Court should thus grant this motion in

limine. Plaintiffs oppose the motion, but the State Defendants do not.

                               BACKGROUND

      Plaintiffs challenge two Georgia laws that help ensure election integrity.

First, they challenge the prefilling provision, which prohibits persons and

organizations from sending any “elector an absentee ballot application that is
        Case 1:21-cv-01390-JPB Document 205 Filed 02/16/24 Page 2 of 9




prefilled   with    the elector’s required         information.”     Ga. Code §21-2-

381(a)(1)(C)(ii). Second, they challenge the anti-duplication provision, which

prohibits persons and organizations from sending “applications for absentee

ballots to electors” who have “already requested, received, or voted an absentee

ballot in the primary, election, or runoff.” Id. §21-2-381(a)(3)(A). By the

summary judgment stage, Plaintiffs’ remaining claims were that the

challenged provisions violate their First Amendment rights to free speech and

association, and that the prefilling prohibition is unconstitutionally overbroad.
       The State moved for summary judgment, and the Republican intervenors

joined the motion. See Docs. 149, 151. The Court granted summary judgment

in favor of Defendants on the freedom of association claims and the

overbreadth claim. Doc. 179 at 36, 38. It denied summary judgment on the

freedom of speech claims, which are now proceeding to trial. Doc. 179 at 29.

According to Plaintiffs, they have the burden on two primary issues at trial: (1)

“Whether sending a personalized absentee ballot application to specific

individuals is protected core political speech or expressive conduct” such that

the prefilling prohibition infringes “Plaintiffs’ First Amendment right to free

speech.” Doc. 186 at 4.1 And (2) “Whether sending absentee ballot applications
to specific individuals is protected core political speech or expressive conduct,”

such that the double-mailing restriction infringes “Plaintiffs’ First Amendment

right to free speech.” Id.

       In December 2023, the Court approved the consolidated pretrial order

filed by the parties. See Doc. 186. The Court held a status conference in


1 The page numbers for the signed pretrial order (Doc. 186) refer to the ECF-header pages.




                                             2
       Case 1:21-cv-01390-JPB Document 205 Filed 02/16/24 Page 3 of 9




January, and the parties followed up with a joint motion for scheduling order.

See Doc. 203. The Court granted the motion, approved the proposed deadlines,

and ordered motions in limine to be filed by February 16, 2024. This motion is

thus timely.

                                  ARGUMENT

      “A motion in limine is ‘an important tool available to the trial judge to

ensure the expeditious and evenhanded management of the trial proceedings’”

by excluding irrelevant evidence that may delay proceedings or confuse the
issues. United States v. Roland, No. 1:14-cr-291, 2016 WL 11628077, at *1

(N.D. Ga. June 1, 2016) (quoting Jonasson v. Lutheran Child & Family Servs.,

115 F.3d 436, 440 (7th Cir. 1997)). Only relevant evidence is admissible at trial.

Fed. R. Evid. 402. Evidence is relevant if it has the “tendency to make a fact

more or less probable than it would be without the evidence.” Fed. R. Evid. 401.

Even if evidence is relevant, courts should exclude it if its probative value is

substantially outweighed by factors such as “unfair prejudice, confusing the

issues, misleading the jury, undue delay, wasting time, or needlessly

presenting cumulative evidence.” Fed. R. Evid. 403. And the party offering the

evidence bears the burden of demonstrating its relevance. See Dowling v.
United States, 493 U.S. 342, 351 n.3 (1990).

      The Court should exclude evidence of Republican Party documents and

mailers. Plaintiffs’ exhibit list indicates that they intend to offer evidence of

draft mailers and absentee-ballot applications prepared by the Republican

National Committee and the Georgia Republican Party for the 2018 and 2020

elections. E.g., Doc. 186 at 45-46 (Plaintiffs’ Exs. 34, 35, 43-46). Plaintiffs also



                                         3
       Case 1:21-cv-01390-JPB Document 205 Filed 02/16/24 Page 4 of 9




intend to offer evidence of “talking points” sent or received by the Republican

Party about SB 202 and election integrity. E.g., Doc. 186 at 59 (Plaintiffs’ Exs.

262-70). None of that evidence is relevant to the claims and defenses in this

case, and it should be excluded for several independent reasons.

      First, what other political parties and organizations do or say is

irrelevant to whether the challenged provisions infringe “Plaintiffs’ First

Amendment right to free speech.” Doc. 186 at 4 (emphasis added). Plaintiffs’

entire theory is that “[m]ailing a personalized application is inherently
expressive conduct that the First Amendment embraces, because only an

organization which intends to convey such a pro-mail voting message would

expend its resources to personalize and distribute mail ballot applications.”

Doc. 186 at 21 (cleaned up) (quoting VoteAmerica v. Schwab, 2023 WL

3251009, at *9 (D. Kan. May 4, 2023)). To succeed on that claim, Plaintiffs must

prove that they intend to convey a message through their prefilled mailers. See

Burns v. Town of Palm Beach, 999 F.3d 1317, 1334-35 (11th Cir. 2021). They

must show that an ordinary observer would understand their conduct to

express a message in the absence of any explanatory language. See Rumsfeld

v. F. for Academic and Institutional Rights, Inc., 547 U.S. 47, 66 (2006). And
they must show that SB 202’s limits on pre-filled mailers prevent them from

engaging in that inherently expressive conduct. But see Ft. Lauderdale Food

Not Bombs v. Ft. Lauderdale, 901 F.3d 1235, 1244 (considering “presence of

banners” but not their content because explanatory “speech cannot create

expressive conduct”). Third-party mailers have no bearing on how anyone

views Plaintiffs’ prefilled mailers. Plaintiffs did not bring up any of this



                                       4
       Case 1:21-cv-01390-JPB Document 205 Filed 02/16/24 Page 5 of 9




evidence at summary judgment. See Docs. 159 (Plaintiffs’ summary judgment

response), 159-32 (Plaintiffs’ response to State’s statement of material facts).

The Republican documents are no more relevant at trial.

      Second, third-party mailers that predate the challenged law are doubly

irrelevant. Plaintiffs intend to proffer Republican Party mailers for the 2018

and 2020 election cycles. But those documents were prepared for elections that

took place long before the challenged laws took effect. See Ga. S.B. 202, 2021

Ga. Laws Act 9 (Mar. 25, 2021). They have no bearing on the legality of
Georgia’s current election system, so allowing them into the record “would run

afoul of the rules of evidence.” Sec. & Exch. Comm’n v. Avent, No. 1:16-cv-2459,

2017 WL 6460243, at *3 (N.D. Ga. Dec. 15, 2017) (concluding that issues with

a promissory note signed in 2014 were irrelevant to whether insider trading

occurred several years before).

      Third, the Republican mailers don’t relate to the claims or defenses here

because they wouldn’t have violated SB 202 had it been in place for those

elections. To start, the Republican mailers don’t have prefilled voter

information. SB 202 prohibits prefilling “the elector’s required information” on

absentee ballot applications. Ga. Code §21-2-381(a)(1)(C)(ii). That information
includes the elector’s “name, date of birth, address as registered, address where

the elector wishes the ballot to be mailed,” and driver’s license or ID-card

number. Id. §21-2-381(a)(1)(C)(i). None of the Republican mailers prefilled that

information. A few of the mailers prefilled the date of the election, but that’s

still permissible under SB 202. The Republican mailers also have no bearing

on the double-mailing restriction. They don’t indicate to whom the mailers



                                       5
       Case 1:21-cv-01390-JPB Document 205 Filed 02/16/24 Page 6 of 9




were sent, how many were sent, or whether they were sent at all. Finally, the

GOP mailers are not relevant to any of the claims decided at summary

judgment. Even if they were, “evidence concerning previously dismissed claims

is [generally] not relevant and, consequently, is not admissible.” Anderson v.

Brown Indus., No. 4:11-cv-0225, 2014 WL 12521732, at *4 (N.D. Ga. Mar. 14,

2014); see also GPI Int’l Ltd. v. IBC Creative LLC, 1:07-cv-1540, 2009 WL

10671357, at *2 (N.D. Ga. Sept. 16, 2009) (granting motion in limine to exclude

evidence related to “the legal conclusions [the Court] made in its partial
summary judgment order”).

      Fourth, even if the GOP documents were marginally relevant, the Court

should exclude them under Rule 403. This case is about Plaintiffs’ conduct, not

the Republican Party’s. Whatever minimal probative value the Republican

documents have is “substantially outweighed” by their tendency to “confus[e]

the issues,” cause “undue delay, wast[e] time,” and “needlessly present[]

cumulative evidence.” Fed. R. Evid. 403. Speed and efficiency are especially

important in election cases. See Purcell v. Gonzalez, 549 U.S. 1 (2006). The

Court should not entertain irrelevant evidence that will only balloon the record

and waste time.
      The issues at trial are whether Plaintiffs’ prefilling and mass-mailing

programs are protected by the First Amendment, and, if they are, whether the

Georgia laws violate those constitutional rights. Plaintiffs likely want to claim

that Republicans engage in similar conduct. But their evidence doesn’t show

that. And even if it did, that “fact is [not] of consequence in determining the

action.” Fed. R. Evid. 401(b). The Court should thus grant the motion.



                                       6
       Case 1:21-cv-01390-JPB Document 205 Filed 02/16/24 Page 7 of 9




                                CONCLUSION

      For the foregoing reasons, the Court should grant the motion in limine

and issue an order prohibiting Plaintiffs from introducing at trial evidence

relating to documents, talking points, mailers, or absentee ballot applications

sent or received by the Republican National Committee or the Georgia

Republican Party.


                                          Respectfully submitted,

                                          /s/ William Bradley Carver

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                                      7
       Case 1:21-cv-01390-JPB Document 205 Filed 02/16/24 Page 8 of 9




                    CERTIFICATE OF COMPLIANCE

     This document complies with Local Rule 5.1(B) because it uses 13-point

Century Schoolbook.

                                         /s/ William Bradley Carver




                      CERTIFICATE OF SERVICE

     On February 16, 2024, I e-filed this document on ECF, which will email

everyone requiring service.

                                         /s/ William Bradley Carver




                                     8
       Case 1:21-cv-01390-JPB Document 205 Filed 02/16/24 Page 9 of 9




                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
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                           Defendants,

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                Intervenor-Defendants.


   PROPOSED ORDER GRANTING INTERVENOR-DEFENDANTS’
                  MOTION IN LIMINE

      This matter comes before the Court on Intervenor-Defendants’ Motion in

Limine. Upon considering the motion and supporting authorities, responses,

and the evidence and pleadings of record, this Court GRANTS the motion and
ORDERS that Plaintiffs are prohibited from introducing at trial evidence

relating to documents, talking points, mailers, or absentee ballot applications

sent or received by the Republican National Committee or the Georgia

Republican Party.

      IT IS SO ORDERED this ____ day of _______________, 2024.

                                                 _____________________________
                                                 Hon. J.P. Boulee
                                                 United States District Judge
                                                 Northern District of Georgia
